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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF
                      GEORGIA ATLANTA DIVISION

  UNITED STATES OF AMERICA ex )
  rel. CHRISTOPHER CRAIG and     )
  KYLE KOZA,                     )
                                 )
             Plaintiff–Relators, )                Civil Action No.
                                 )                1:22-cv-02698-JPB
        v.                       )
                                 )
  GEORGIA TECH RESEARCH          )
  CORPORATION and GEORGIA        )
  INSTITUTE OF TECHNOLOGY,       )
                                 )
             Defendants.         )


  JOINT MOTION TO DISMISS RELATORS’ RETALIATION CLAIMS
         WITH INCORPORATED MEMORANDUM OF LAW
      Relators and Defendants jointly move the Court for an order dismissing

Relators’ retaliation claims, withdrawing Relators’ Motion for Permission to Serve

the Original Complaint (Doc. 24), and vacating the Court’s Order to serve the

original complaint by December 19, 2024 (Doc. 33). In support of this motion, the

parties respectfully show the Court as follows:

      1.    On February 19, 2024, the United States filed a notice of election to

intervene in this False Claims Act case. (Doc. 17).

      2.    On February 23, 2024, this Court entered an Order unsealing the

Complaint and ordering that the United States serve its Complaint in Intervention
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upon Defendants within 120 days. (Doc. 18). On June 24, 2024, the Court

extended the time to serve the Complaint in Intervention through August 22, 2024,

by a text-only order.

      3.     On August 22, 2024, Relators moved for permission to serve their

original complaint based on their separate retaliation claims, and on September 19,

2024, the Court ordered Relators to serve their original complaint on Defendants

within ninety days. (Doc. 24; Doc. 33).

      4.     Also on August 22, 2024, the United States filed its Complaint in

Intervention, (Doc. 23), which then became the operative complaint for all claims in

which the government has intervened. See United States v. Pub. Warehousing Co.

K.S.C., 242 F. Supp. 3d 1351, 1357 (N.D. Ga. 2017) (“[T]here can only be one

overarching operative complaint. . . . Once the government intervenes, . . . ‘the

Government’s complaint in intervention becomes the operative complaint as to all

claims in which the government has intervened.’ The government’s complaint

supersedes the relator’s, but only as to those claims in which the government has

decided to intervene.” (citation omitted)).

      5.     Relators’ original complaint (Doc. 1) contains two counts that are not

part of the Complaint in Intervention: Count II (Violation of 31 U.S.C. § 3730(h) -

Retaliation Against Relator Craig) and Count III (Violation of 31 U.S.C. § 3730(h)

- Retaliation Against Relator Koza).


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      6.     Relators’ retaliation claims in the two counts are foreclosed by

controlling Eleventh Circuit authority. In Monroe v. Fort Valley State University,

the Eleventh Circuit held that arms of the state, specifically, the Board of Regents

of the University System of Georgia and a Georgia state university, such as the

Defendant named in the retaliation claims here, have Eleventh Amendment

immunity from whistleblower retaliation suits under the False Claims Act. 93

F.4th 1269, 1278–79 (11th Cir. 2024). Accordingly, Relators will no longer pursue

retaliation claims against the Board of Regents or Georgia Institute of Technology,

which are the only claims not part of the government’s Complaint in Intervention.

      7.     Because Relators sought to serve their original complaint solely based

on their retaliation claims, the parties jointly move the Court for an order

dismissing Relators’ retaliation claims, withdrawing Relators’ Motion for

Permission to Serve the Original Complaint (Doc. 24), and vacating the Court’s

Order to serve the original complaint by December 19, 2024 (Doc. 33). A

proposed order is attached for the Court’s convenience.

      8.     The parties have conferred over email and counsel for the United

States does not object to the relief requested in this motion.




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     Respectfully submitted, the 18th day of December, 2024.

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          LOCAL RULE 7.1 CERTIFICATE OF COMPLIANCE

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1, using a font type of Times New Roman and a point size of 14.

                                             /s/ Douglas W. Gilfillan
                                             Douglas W. Gilfillan




                        CERTIFICATE OF SERVICE

      I hereby certify that on December 18, 2024, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which will

automatically send email documentation of such filing to the attorneys of record.

                                             /s/ Douglas W. Gilfillan
                                             Douglas W. Gilfillan
